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                    PSJ11 CVS Opp Exh 27
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     1          IN THE UNITED STATES DISTRICT COURT
     2           FOR THE NORTHERN DISTRICT OF OHIO
     3                   EASTERN DIVISION
     4                        - - -
     5
            IN RE: NATIONAL                         :    HON. DAN A.
     6      PRESCRIPTION OPIATE                     :    POLSTER
            LITIGATION                              :
     7                                              :
            APPLIES TO ALL CASES                    :    NO.
     8                                              :    1:17-MD-2804
                                                    :
     9
                         - HIGHLY CONFIDENTIAL -
    10
           SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
    11
                                          -    -    -
    12
                                   July 19, 2018
    13
                                          -    -    -
    14
    15                  Videotaped deposition of
           MICHAEL ORIENTE, taken pursuant to
    16     notice, was held at the law offices of
           Weitz & Luxenberg, 700 Broadway, New York
    17     New York, beginning at 9:01 a.m., on the
           above date, before Michelle L. Gray, a
    18     Registered Professional Reporter,
           Certified Shorthand Reporter, Certified
    19     Realtime Reporter, and Notary Public.
    20                      - - -
    21
                     GOLKOW LITIGATION SERVICES
    22            877.370.3377 ph | 917.591.5672 fax
                           deps@golkow.com
    23
    24

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     1     placed the order above their threshold,
     2     true?
     3                 A.        Yes.
     4                 Q.        And so if pharmacy X,
     5     Miller's Pharmacy on Main Street in
     6     Cleveland, Ohio, breached their
     7     threshold, you're getting ahold of
     8     Miller's Pharmacy on Main Street in
     9     Cleveland, Ohio, that ordered over their
    10     threshold.          Right?
    11                 A.        Yes.
    12                 Q.        But if a big chain like CVS
    13     breaches their threshold, the call went
    14     to their corporate headquarters, their
    15     regulatory department, their oversight
    16     department.           Correct?
    17                 A.        Yes, I believe that's how it
    18     worked.
    19                 Q.        So if a CVS store in Idaho
    20     places an order above their threshold,
    21     you are calling Providence, Rhode Island.
    22     You are calling the corporate office with
    23     respect to that Level 1 --
    24                           MS. HENN:          Objection to
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     1                 form.
     2     BY MR. KENNEDY:
     3                 Q.        -- to find out what's going
     4     on in Idaho, correct?
     5                           MS. HENN:          Objection to
     6                 form.
     7                           THE WITNESS:            Right.
     8                 Because they had -- they perform
     9                 their own due diligence internal
    10                 regulatory review.
    11     BY MR. KENNEDY:
    12                 Q.        Okay.       I'm going to write
    13     that down.          I got a paper.
    14                           MS. ROZMAN:            We're going to
    15                 mark as MCK Oriente 574.
    16                           MR. KENNEDY:            I'm going to
    17                 put that up please.
    18                             (Document marked for
    19                 identification as Exhibit
    20                 MCK-Oriente-574.)
    21     BY MR. KENNEDY:
    22                 Q.        So these national chains,
    23     the big customers, the CVS, they do their
    24     own due diligence, they've got their own
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     1     regulatory department, correct?
     2                 A.        Yes.
     3                 Q.        And CVS, now that's a
     4     customer that you're doing over
     5     $10 billion worth of business with,
     6     right?
     7                           MS. HENN:          Objection to
     8                 form.
     9                           THE WITNESS:            Again, sir, I
    10                 don't know the exact dollar amount
    11                 that McKesson does with each
    12                 chain.
    13     BY MR. KENNEDY:
    14                 Q.        Let me ask you, sir, real
    15     simple question.
    16                           If you're going to rely upon
    17     somebody like CVS to do the due
    18     diligence, you want to make sure they are
    19     doing a good job, don't you?
    20                 A.        We want to make sure they
    21     are following the requirements
    22     established for them, yes.
    23                 Q.        I mean that's -- you've got
    24     to make sure.
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     1                 A.        Yeah, we -- yes.
     2                 Q.        Sir, in 2010, do you
     3     understand CVS paid a $77 million penalty
     4     in California, do you know that?
     5                 A.        In California, I was not
     6     aware.        I knew they did in Florida have
     7     some stores.            But I wasn't aware of
     8     California.
     9                           MR. KENNEDY:            505, please.
    10                 5005.
    11                           MS. ROZMAN:            Identified as
    12                 MCK --
    13                           MR. KENNEDY:            5 -- yeah,
    14                 5005.
    15                           MS. ROZMAN:            MCK Oriente
    16                 535.
    17                             (Document marked for
    18                 identification as Exhibit
    19                 MCK-Oriente-535.)
    20     BY MR. KENNEDY:
    21                 Q.        Here's -- this is from the
    22     New York Times.              "CVS to pay penalty in
    23     methamphetamine case," 2010, New York
    24     Times.
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